       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Thomas James Synan, II
       v. Commonwealth of Virginia
       Record No. 0795-15-2
       Opinion rendered by Judge Alston on
        January 24, 2017

    2. Manneh Vay
       v. Commonwealth of Virginia
       Record No. 0053-16-2
       Opinion rendered by Judge Russell on
        January 31, 2017

    3. Arthur G. Kahn
       v. Commonwealth of Virginia
       Record No. 0982-16-4
       Opinion rendered by Judge Chafin on
        January 31, 2017

    4. Abdul Lateef Salahuddin
        v. Commonwealth of Virginia
        Record No. 1874-15-2
        Opinion rendered by Judge Decker on
        January 31, 2017

    5. Jennifer Jo Broadous
        v. Commonwealth of Virginia
        Record No. 0169-16-1
        Opinion rendered by Judge Humphreys on
        February 7, 2017

    6. Sheng Jie Jin
        v. Commonwealth of Virginia
        Record No. 0457-16-2
        Opinion rendered by Judge Petty on
        February 14, 2017

    7. Alfred Banks, Jr.
        v. Commonwealth of Virginia
        Record No. 2055-15-2
        Opinion rendered by Judge Decker on
        February 14, 2017
   The following cases in which the Court of Appeals issued published opinions have been disposed of by
the Supreme Court:

           1. Bruce Edison Parham
              v. Commonwealth of Virginia
              Record No. 0772-14-1
              Opinion rendered by Judge Decker
               on April 7, 2015
              Refused (150671)

           2. Angela Maye Holt
              v. Commonwealth of Virginia
              Record No. 1252-14-1
              En Banc opinion rendered by Judge Chafin
               on April 12, 2016
              Refused (160760)

           3. Timothy Lawerence Doscoli
              v. Commonwealth of Virginia
              Record No. 0517-15-3
              Opinion rendered by Judge Petty
                on June 21, 2016
              Refused (161075)

           4. Mall Amusements, LLC, d/b/a King Pinz
              v. Virginia Department of Alcoholic Beverage Control
              Record No. 1893-15-4
              Opinion rendered by Judge Beales
               on September 13, 2016
              Refused (161435)
